Case 3:18-cv-01131-MJR-RJD Document 17 Filed 07/31/18 Page 1 of 2 Page ID #45

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

CONNIE JAMISON,                                )       Case No. 18-cv-1131-MJR-RJD
                                               )       CJRA TRACK: B
               Plaintiff,                      )
       vs.                                     )       JUDGES ASSIGNED:
                                               )       Chief Judge Michael J. Reagan
NCC BUSINESS SERVICES, INC.,                   )       Magistrate Judge Reona J. Daly
                                               )
               Defendant.                      )       JURY TRIAL:
                                               )        August 12, 2019, at 9:00 a.m.
                                               )       FINAL PRETRIAL CONFERENCE:
                                               )         August 2, 2019, at 1:30 p.m.

                            SCHEDULING & DISCOVERY ORDER

DALY, Magistrate Judge:


       Having reviewed the Plaintiff’s Joint Report of the Parties and finding that the parties

have complied with the requirements of FED. R. CIV. P. 26(f) and SDIL-LR 16.2(a), the Court

hereby approves and enters the same.


       Depositions upon oral examination, interrogatories, requests for documents, and answers

and responses thereto shall not be filed unless on order of the Court. Disclosures or discovery

under FED. R. CIV. P. 26(a) are to be filed with the Court only to the extent required by the final

pretrial order, other Court order, or if a dispute arises over the disclosure or discovery and the

matter has been set for briefing.


       The parties should note that they may, pursuant to FED. R. CIV. P. 29, modify discovery

dates set in the Joint Report by written stipulation, except that they may not modify a date if such

modification would impact the deadline for the completion of all discovery, the deadline for

filing dispositive motions, or the date of any court appearance.




                                                   1
Case 3:18-cv-01131-MJR-RJD Document 17 Filed 07/31/18 Page 2 of 2 Page ID #46



       As initially set by the Court, Jury Trial is set for August 12, 2019 at 9:00 a.m. and Final

Pretrial Conference is set for August 2, 2019 at 1:30 p.m. Both settings are before Chief Judge

Reagan in the Federal Courthouse, East St. Louis, Illinois.

       The parties should note that the following procedures and deadlines apply to Chief Judge

Reagan’s cases, and are not found in the local rules:

   1. Motions in limine shall be due 21 days before trial, and responses to those motions shall
       be due 14 days before trial.
   2. Any challenges to a potential witness’ testimony brought pursuant to FED. R. EVID. 702
       and FED. R. EVID. 703 (i.e., Daubert motions) SHALL be due on or before this case’s
       deadline for dispositive motions.


   IT IS SO ORDERED.

   DATE: July 31, 2018.


                                                        s/ Reona J. Daly
                                                        HON. REONA J. DALY
                                                        UNITED STATES MAGISTRATE JUDGE




                                                 2
